              Case 3:18-cr-05094-JHC                  Document 217              Filed 04/04/18           Page 1 of 1


 1        UNITED STATES DISTRICT COURT WESTERN DISTRICT OF WASHINGTON AT TACOMA

 2       UNITED STATES OF AMERICA,
                             Plaintiff,                                          Case Number CR18-5094BHS-19
 3
                            v.                                                   DETENTION ORDER

 4       CRYSTAL MARLENE WEAVER,
                           Defendant.
 5

 6            THE COURT, having conducted a detention hearing pursuant to 18 U.S.C. '3142, finds that no condition or
     combination of conditions which defendant can meet will reasonably assure the appearance of the defendant as required
 7   and/or the safety of any other person and the community.

               This finding is based on 1) the nature and circumstances of the offense(s) charged, including whether the offense
 8   is a crime of violence or involves a narcotic drug; 2) the weight of the evidence against the person; 3) the history and
     characteristics of the person including those set forth in 18 U.S.C. ' 3142(g)(3)(A)(B); and 4) the nature and seriousness of
 9   the danger release would impose to any person or the community.

                                               Findings of Fact/ Statement of Reasons for Detention
10
     Presumptive Reasons/Unrebutted:
11   ( )     Conviction of a Federal offense involving a crime of violence. 18 U.S.C.'3142(f)(A)
     ( )     Potential maximum sentence of life imprisonment or death. 18 U.S.C.'3142(e)
12   (X)     Potential maximum sentence of 10+ years as prescribed in the Controlled Substances Act (21 U.S.C.'801 et seq.),
             the Controlled Substances Import and Export Act (21 U.S.C.'951 et seq.) Or the Maritime Drug Law
             Enforcement Act (46 U.S.C. App. 1901 et seq.)
13   ( )     Convictions of two or more offenses described in subparagraphs (A) through (C) of 18 U.S.C.'3142(f)(1) of two
             or more State or local offenses that would have been offenses described in said subparagraphs if a circumstance
14           giving rise to Federal jurisdiction had existed, or a combination of such offenses.

15   Safety Reasons:
      ( )     Proposed residence not yet verified by Pretrial Services.
      (X)     Defendant deemed a danger to the community due to her criminal history and substance abuse issues.
16    ( )     Defendant’s possible mental competency issues.

17
     Flight Risk/Appearance Reasons:
      ( )     Court deems the defendant to be a flight risk.
18
      ( )     Defendant has a history of failing to appear.
      ( )     Past conviction for escape.
19
                                            Order of Detention without prejudice to review
20
             The defendant shall be committed to the custody of the Attorney General for confinement in a corrections
              facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody
21            pending appeal.
             The defendant shall be afforded reasonable opportunity for private consultation with counsel.
22           The defendant shall on order of a court of the United States or on request of an attorney for the Government, be
              delivered to a United States Marshal for the purpose of an appearance in connection with a court proceeding.

23                                                                      April 4, 2018.


24
                                                                        A
                                                                        J. Richard Creatura, US Magistrate Judge
